Case 2:16-cv-00641-JMA-SIL Document 85 Filed 01/28/20 Page 1 of 4 PageID #: 489



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                                                            January 28, 2020

VIA ECF

Hon. Joan M. Azrack, USDJ
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

RE:     D’Aguino v. Garda, 16-cv-00641
        Adkins v. Garda, 17-cv-02532

Dear Judge Azrack:

       With this letter, the Plaintiffs Kerem Bay, Lana Bongiovi, Clement Campbell, Angelo
Carpola, Alexander Cioffi, Patrick H. Crain, David Cronk, Dennis Delucie, Charles J. Engel,
Matthew Farrell, Benny Failla, Robert J. Giani, John R. Lackenbauer, William J. Maher, Michael
G. McDowell, John Rossi, William R. Shannon, Fred H. Smith, Gary E. Sobek, Damian Sobers,
Carmela Szymanski, Anothny Tanza and Cynthia Torres (“Plaintiffs”) respectfully request that the
Court direct Garda to show cause why the orders of the Court previously issued1 should not be
vacated for lack of jurisdiction, and why the matter of Jimmy Adkins v. Garda CL Atlantic, Inc.,
17-cv-2532(JMA)(AKT) should not be remanded to the New York State Supreme Court, Queens
County.2

        If the Court is not inclined to issue such an order, Plaintiffs hereby indicate their intention
to file a fully briefed motion, and request that the Court reconsider its order granting Garda’s
request for “pre-motion-to-dismiss” discovery.

AT LEAST ONE OF THE PLAINTIFFS WAS A CITIZEN OF FLORIDA AT THE TIME
                  OF THE FILING OF THE COMPLAINT

        Complete diversity did not exist at the time of the filing of the Complaint or Notice of
Removal. Garda has reason to know of the lack of diversity, since it employed one of the
plaintiffs in the State of Florida.



1
  Including the August 16, 2018 order issued in the matter of D’Aguino v. Garda, 16-CV-00641 (ECF No. 50)
dismissing the plaintiffs’ claims with prejudice.
2
  The claims of Jimmy Adkins, Nancy Debe, and Jean-Parnell Louis have been settled.


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Case 2:16-cv-00641-JMA-SIL Document 85 Filed 01/28/20 Page 2 of 4 PageID #: 490


                                                                    MOSER LAW FIRM, P.C.
Hon. Joan M. Azrack, USDJ
January 28, 2020
Page 2 of 4

       The Plaintiffs filed suit in Supreme Court, Queens County on March 24, 2017.
(Complaint, ECF No. 1-1)3. On April 27, 2017 Garda CL Atlantic Inc. (“Garda”) filed a notice
of removal to the United States District Court for the Eastern District of New York. (Notice of
Removal, ECF No. 1)4. Garda alleged diversity jurisdiction as a basis for removal. (Notice of
Removal ¶ 4).

       The Complaint did not allege the citizenship of the Plaintiffs. Nor did it allege the
residences of the Plaintiffs at the time the complaint was filed. The complaint only alleged the
only that the “plaintiffs were [] residing in Suffolk County, New York” at the time of the alleged
NYLL violations. (See Complaint, ¶ 1 (emphasis supplied)). The use of the past tense to
describe Plaintiffs’ residences was not accidental. (See Complaint, ¶¶ 2, 7 (describing Plaintiffs’
employment with Garda in the past tense) and compare ¶¶ 3-4 (describing Garda’s corporate
existence and operations in the present tense)).

        When Garda filed the notice of removal, however, it changed the past tense (“Plaintiffs
were [] residing in Suffolk County” 5) to the present tense (stating that “[a]s Plaintiffs allege in
the Complaint, they are residents of Suffolk County, New York.”6). The notice of removal does
not allege the citizenship of the parties.

        At the time it closed its Central Islip facility, Garda offered one of the Plaintiffs - John
Rossi - employment in Florida. Mr. Rossi accepted that offer of employment and relocated to
Florida in 2015. He worked for Garda in Florida. He furnished a Port St. Lucie address to
Garda. He has been a citizen of Florida since February 27, 2015.

         With respect to diversity jurisdiction, “[a] case falls within the federal district court’s
‘original’ diversity ‘jurisdiction’ only if diversity of citizenship among the parties is complete,
i.e., only if there is no plaintiff and no defendant who are citizens of the same State.” Wis. Dep’t
of Corr. v. Schacht, 524 U.S. 381, 388, 141 L. Ed. 2d 364, 118 S. Ct. 2047 (1998). “[W]hile the
amount-in-controversy requirement is somewhat malleable, complete diversity of all parties is an
absolute, bright-line prerequisite to federal subject matter jurisdiction.” Pa. Pub. Sch. Emples.
Ret. Sys. v. Morgan Stanley & Co., 772 F.3d 111, 119 (2d Cir. 2014). Here, because both Garda
and Mr. Rossi were citizens of Florida, diversity jurisdiction is not present.

    GARDA HAS FAILED TO PLAUSIBLY ESTABLISH DIVERSITY JURISDICITON IN
                         ITS NOTICE OF REMOVAL

        The party invoking diversity jurisdiction has the burden of establishing diversity of
citizenship and the amount in controversy. Lupo v. Human Affairs Int’l, 28 F.3d 269, 274 (2d
Cir. 1994).

3
  A copy of the Complaint is annexed hereto as Exhibit 1.
4
  A copy of the Notice of Removal is annexed hereto as Exhibit 2.
5
  Complaint, ECF No. 1-1, ¶ 1 (emphasis supplied).
6
  Notice of Removal, ECF No. 1, ¶ 2 (emphasis supplied).


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Case 2:16-cv-00641-JMA-SIL Document 85 Filed 01/28/20 Page 3 of 4 PageID #: 491


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Hon. Joan M. Azrack, USDJ
January 28, 2020
Page 3 of 4



        Garda has not plausibly alleged the amount in controversy, much less established same
by a preponderance of the evidence. “Removal of the action is proper” only “if the district court
finds, by the preponderance of the evidence, that the amount in controversy exceeds the amount
specified in section 1332(a).” 28 U.S.C.S. § 1446. A single line of the notice of removal is
dedicated to the amount in controversy. It states that “based on the allegations in the complaint,
Plaintiffs are seeking damages in an amount exceeding $75,000.00.” However, the only
damages reduced to a number in the Complaint are Wage Notice violations of $2,500 per
Plaintiff.

       An allegation, like the one in Garda’s notice of removal, that the amount in controversy
exceeds $75,000 has been described as “a threadbare recital” requiring dismissal. Koch v. Koch,
No. 18-cv-1225 (VAB)(WIG), 2018 U.S. Dist. LEXIS 177929, at *11 (D. Conn. Oct. 12, 2018)
The Second Circuit has held under these facts that federal courts lack jurisdiction:

           [W]e hold that if the jurisdictional amount is not clearly alleged in the plaintiff’s
           complaint, and the defendant’s notice of removal fails to allege facts adequate to establish
           that the amount in controversy exceeds the jurisdictional amount, federal courts lack
           diversity jurisdiction as a basis for removing the plaintiff’s action from state court.

Lupo, 28 F.3d at 273-74.

        Garda has not alleged the citizenship of the parties. Garda’s only allegation regarding
diversity is that “[a]s Plaintiffs allege in the Complaint, they are residents of Suffolk County,
New York.”7 But citizenship, not residence, is the proper inquiry. Again, the Second Circuit has
found that “[t]he failure to allege [] citizenship in a particular state is fatal to diversity
jurisdiction.” Universal Reinsurance Co. v. St. Paul Fire & Marine Ins. Co., 224 F.3d 139, 141
(2d Cir. 2000); see Wilkins v. Stapleton, No. 6:17-cv-1342-Orl-37GJK, 2017 U.S. Dist. LEXIS
121005, at *2 (M.D. Fla. Aug. 1, 2017) (warning counsel: “DO NOT allege the “residence” of a
party—citizenship is what counts”) (emphasis in original).

    NO DISCOVERY IS NECESSARY IN LIGHT OF THE FAILURE TO ADEQUATELY
                           PLEAD JURISDICTION

       If Garda cannot plausibly allege facts to support federal jurisdiction without discovery, it
lacked a good faith basis for making the jurisdictional allegations in the first place under Rule
11. Permitting a defendant to obtain discovery so that it can “plausibly allege” removal is the
equivalent of permitting a plaintiff discovery to plausibly allege a cause of action in a complaint.

       For this reason, jurisdictional discovery is disfavored when the notice of removal does
not plausibly allege jurisdiction. See Ayyash v. Bank Al-Madina, No. 04 Civ. 9201 (GEL), 2006
U.S. Dist. LEXIS 9677, at *16-17 (S.D.N.Y. Mar. 9, 2006) (permitting jurisdictional discovery

7
    Notice of Removal, ECF No. 1, ¶ 2 (emphasis supplied).


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Case 2:16-cv-00641-JMA-SIL Document 85 Filed 01/28/20 Page 4 of 4 PageID #: 492


                                                                  MOSER LAW FIRM, P.C.
Hon. Joan M. Azrack, USDJ
January 28, 2020
Page 4 of 4

only where removing defendant made a “prima facie showing of subject-matter [] jurisdiction”);
Ortiz, 2016 U.S. Dist. LEXIS 157926, at *24-25 (denying jurisdictional discovery because
“defendants have not met their burden of establishing the amount in controversy by a
preponderance of the evidence.”); Mills 2011 L.L.C. v. Synovus Bank, 921 F. Supp. 2d 219, 228
(S.D.N.Y. 2013) (denying jurisdictional discovery until defendant amended the notice of
removal to allege a plausible basis for jurisdiction).

        Plaintiffs therefore request that the Court reconsider its order granting Garda’s request for
jurisdictional discovery. Such discovery belongs in state court unless Garda can plead sufficient
factual matter to invoke the Court’s jurisdiction. Finally, if the Court permits jurisdictional
discovery, such discovery should be reciprocal so that the Plaintiffs have the opportunity to
challenge, if necessary, Garda’s jurisdictional claims.

                                         CONCLUSION

        For the foregoing reasons, Plaintiffs request that Garda be required to show cause why
the prior orders of the Court, including the order dismissing the Plaintiffs’ claims with prejudice,
should not be vacated for lack of jurisdiction why the case should not be remanded to New York
State Supreme Court, Queens County.

                                                      Respectfully submitted,




                                                      Steven John Moser




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